          Case 2:22-cv-00174-TOR       ECF No. 12    filed 08/26/22         PageID.468 Page 1 of 32



         RHETT V. BARNEY, WSBA #44764
     1| LEE & HAYES, P.C.
         601 W. Riverside Avenue, Suite 1400
     2 | Spokane, WA 99201
         Phone: (509) 324-9256; Fax: (509) 323-8979

        ROBERT J. CARLSON, WSBA#18455
     4| LEE & HAYES, P.C.
         One Convention Place
     5 [701 Pike Street, Ste. 1600
         Seattle, WA 98101
     6 | Phone: (206) 315-4001; Fax (206) 315-4004
     7
     ;   Counsel for Plaintiff City of Leavenworth

                                UNITED   STATES      DISTRICT     COURT
     9                         EASTERN DISTRICT OF WASHINGTON
10          CITY OF LEAVENWORTH,

11          a Washington municipal corporation, | No.      2:22-cv-00174

12                Plaintiff,
13                                v.                  DECLARATION OF TROY
                                                      CAMPBELL IN SUPPORT OF
14          PROJEKT BAYERN                            PLAINTIFF'S MOTION FOR
(3          ASSOCIATION,                              PRELIMINARY INJUNCTION

[6          a Washington nonprofit corporation,

                  Defendant.
17

18

19             I, Troy Campbell, declare under penalty of perjury of the laws of the United

20 | States of America as follows:

21         1. I am a resident of the state of Washington and I am over the age of majority.

22            I have personal knowledge of the facts set forth herein and I am competent

23
         DECLARATION OF TROY CAMPBELL IN                      LoE = HAYES           Po             Suite     1400
         SUPPORT OF MOTION FOR PRELIMINARY                    A       est
                                                                            TR
                                                                             Riverside   Avenue,     duite


         INJUNCTION - 1                                       Telephone: (509) 324-9256 Fax: (509) 323-8979
     Case 2:22-cv-00174-TOR      ECF No. 12    filed 08/26/22     PageID.469 Page 2 of 32




1         to testify
          to testify to
                     to the
                        the facts
                            facts set
                                  set forth
                                      forth herein.
                                            herein. II make
                                                       make this
                                                            this declaration
                                                                 declaration in
                                                                             in my
                                                                                my capacity
                                                                                   capacity

 2        as the
          as the Executive
                 Executive Director
                           Director of
                                    of the
                                       the Leavenworth
                                           Leavenworth Chamber
                                                       Chamber of
                                                               of Commerce
                                                                  Commerce (the
                                                                           (the

 3        “Chamber”).
          “Chamber”).

 4     2.. The
           The Chamber’s
               Chamber’s mission
                         mission is
                                 is to
                                    to act
                                       act as
                                           as aa catalyst
                                                 catalyst for
                                                          for local
                                                              local businesses
                                                                    businesses by
                                                                               by
 5        generating positive
          generating positive economic
                              economic impact
                                       impact for
                                              for the
                                                  the city
                                                      city of
                                                           of Leavenworth
                                                              Leavenworth and
                                                                          and the
                                                                              the

 6        surrounding community,
          surrounding community, and
                                 and to
                                     to promote
                                        promote Leavenworth
                                                Leavenworth as
                                                            as aa premier four-
                                                                  premier four-
 7        season
          season travel
                 travel destination.
                        destination.

 8     3.. In
           In furtherance
              furtherance of
                          of our
                             our mission,
                                 mission, the
                                          the Chamber
                                              Chamber fully
                                                      fully embraces
                                                            embraces the
                                                                     the “Old-World”
                                                                         “Old-World”

 9        Bavarian
          Bavarian theme
                   theme of
                         of Leavenworth.
                            Leavenworth.

10     4.. The
           The Chamber
               Chamber actively
                       actively promotes events in
                                promotes events in its
                                                   its “Bavarian
                                                       “Bavarian Blog,”
                                                                 Blog,” newsletters
                                                                        newsletters

11        hosted on
          hosted on the
                    the Chamber’s
                        Chamber’s website,
                                  website, regularly
                                           regularly focusing
                                                     focusing on
                                                              on upcoming activities
                                                                 upcoming activities

12        in the
          in the “Bavarian
                 “Bavarian Village
                           Village of
                                   of Leavenworth.”
                                      Leavenworth.” II attach
                                                       attach as
                                                              as Exhibit
                                                                 Exhibit AA aa true
                                                                               true and
                                                                                    and

13        correct copy
          correct copy of
                       of the
                          the Bavarian
                              Bavarian Blog
                                       Blog entry
                                            entry of
                                                  of February
                                                     February 3,
                                                              3, 2022.
                                                                 2022. Note, as an
                                                                       Note, as an

14        example, that
          example, that Bavarian
                        Bavarian Blog
                                 Blog entry
                                      entry for
                                            for February
                                                February 3,
                                                         3, 2022
                                                            2022 listed
                                                                 listed upcoming
                                                                        upcoming

15        events in
          events in February,
                    February, April,
                              April, May,
                                     May, June-August,
                                          June-August, September,
                                                       September, and
                                                                  and October
                                                                      October of
                                                                              of

16        2022. Specifically
          2022. Specifically regarding
                             regarding October,
                                       October, that
                                                that February
                                                     February 33 entry
                                                                 entry announced
                                                                       announced

17        “Oktoberfest —– After
          “Oktoberfest    After aa two-year
                                   two-year hiatus,
                                            hiatus, Leavenworth
                                                    Leavenworth will
                                                                will play
                                                                     play host
                                                                          host once
                                                                               once

18        again to
          again to aa revamped
                      revamped version
                               version of
                                       of this
                                          this annual
                                               annual German
                                                      German tradition….”
                                                             tradition....” (Exhibit
                                                                            (Exhibit A,
                                                                                     A,

19        pages 2-3).
          pages 2-3).
20     5.. The
           The Chamber
               Chamber also
                       also advertises
                            advertises events
                                       events and
                                              and business
                                                  business information
                                                           information in
                                                                       in its
                                                                          its

21        “Bavarian Bulletin,”
          “Bavarian Bulletin,” aa publication
                                  publication sent
                                              sent to
                                                   to members
                                                      members and
                                                              and subscribers
                                                                  subscribers and
                                                                              and

22        hosted on
          hosted on its
                    its website.
                        website. II attach
                                    attach as
                                           as Exhibit
                                              Exhibit B
                                                      B aa true
                                                           true and
                                                                and correct
                                                                    correct copy
                                                                            copy of
                                                                                 of aa

23
     DECLARATION
     DECLARATION OF                     IN
                              CAMPBELL IN
                        TROY CAMPBELL
                     OF TROY                              LEE &
                                                          LEE  & HAYES,     P.C.
                                                                  HAYES, P.C.
     SUPPORT OF
     SUPPORT  OF MOTION
                 MOTION FORFOR PRELIMINARY
                               PRELIMINARY                Cohan, Washington 69501
                                                          601
                                                          601 West
                                                              West Riverside
                                                                    Riverside Avenue,
                                                                                Avenue, Suite
                                                          Spokane, Washington 99201
                                                                                         Suite 1400
                                                                                                1400

     INJUNCTION
     INJUNCTION -- 2
                   2                                      Telephone: (509)
                                                          Telephone:  (509) 324-9256
                                                                             324-9256 Fax:
                                                                                       Fax: (509)
                                                                                              (509) 323-8979
                                                                                                     323-8979
Case 2:22-cv-00174-TOR         ECF No. 12   filed 08/26/22    PageID.470 Page 3 of 32




     printout from the current (August 2022) Bavarian Bulletin, including

     information about the 2022 Leavenworth Oktoberfest activities and Partner

     Program.

   . The Chamber regularly promotes Leavenworth’s reputation as an Old-World

     Bavarian Village in its marketing, advertising, and efforts to support local

     businesses.     The City of Leavenworth’s Old-World Bavarian Village theme

     1s unique among municipalities in our region; this theme sets Leavenworth

     apart from other visitor destinations and draws the interest of prospective

     visitors.

   . Annually for many years, though interrupted in 2020 and 2021 by the

    pandemic, the city of Leavenworth has held an Oktoberfest celebration.

    Businesses and residents in Leavenworth, as well as visitors to the city,

    universally refer to this celebration as the “Leavenworth Oktoberfest.”

   . The city’s Leavenworth Oktoberfest celebration is a highly important event,

    indeed a key to the success of local businesses in the fall of each year.

    Typically, the three Saturdays during Oktoberfest are in the top five busiest

    days of the calendar year for Leavenworth businesses.

   . I'am aware that for the 2022 Oktoberfest, the City of Leavenworth chose to

    work with a new vendor, SE Productions, to host a series of Oktoberfest

    events.      I understand that SE Productions was concerned that it would be

    sued by Projekt Bayern Association if it used the traditional name of




DECLARATION OF TROY CAMPBELL IN                      LEE & HAYES, P.C.
                                                     601 West Riverside Avenue, Suite 1400
SUPPORT OF MOTION FOR PRELIMINARY                    Spokane, Washington 99201
INJUNCTION - 3                                       Telephone: (509) 324-9256 Fax: (509) 323-8979
     Case 2:22-cv-00174-TOR      ECF No. 12    filed 08/26/22     PageID.471 Page 4 of 32




          “Leavenworth Oktoberfest,” so in about March of 2022 SE productions

          announced it would call its events “Bavariafest” instead.

       10.In early April 2022, the Chamber received a letter from an attorney

          representing Projekt Bayern Association, demanding the Chamber

          “promptly discontinue your use of Bavariafest,” claiming all rights to

          “Leavenworth Oktoberfest,” and demanding that the Chamber cease and

          desist “from any and all sales of goods and marketing of events using or

          incorporating LEAVENWORTH OKTOBERFEST and/or use of any other

          confusingly similar names.”     The letter went on to demand that the Chamber

          “must cease and desist all promotion and/or marketing of Bavariafest,

          directly or indirectly....” I attach a true and correct copy of that letter as

          Exhibit C.

       11.Sometime in May 2022 the Chamber learned that SE Productions came to

          the decision to completely withdraw from participation in Leavenworth’s

          2022 Oktoberfest celebration.    The Chamber offered itself as a substitute to

          replace SE Productions and the city of Leavenworth agreed.              The Chamber

          determined that it would resume use of the name Leavenworth Oktoberfest

          for this Oktoberfest celebration held in the city of Leavenworth.

19     12.1 am aware that Projekt Bayern Association has made several untrue

20        statements concerning the 2022 Leavenworth Oktoberfest event. As an

21        example, Projekt Bayern Association has informed the public that the

22        Chamber, in conjunction with the city of Leavenworth, is “lying” about a

23
     DECLARATION OF TROY CAMPBELL IN                       LEE & HAYES, P.C.
     SUPPORT OF MOTION FOR PRELIMINARY                     SA                   A
                                                           601 West Riverside Avenue, Suite 1400

     INJUNCTION   - 4                                      Telephone: (509) 324-9256 Fax: (509) 323-8979
           Case 2:22-cv-00174-TOR       ECF No. 12    filed 08/26/22    PageID.472 Page 5 of 32




      1        Leavenworth Oktoberfest celebration happening in Leavenworth,

     2         Washington in 2022.     I attach as Exhibit D a true and correct copy of a

     3         screenshot detailing Projekt Bayern’s statements.

     4{     13.The Chamber have fielded multiple inquiries from members of the public

     5         expressing anger toward the city of Leavenworth and the Chamber, all based

     6         on a mistaken belief that Leavenworth is not hosting its Oktoberfest

     7         celebration in 2022.   I am aware (because the Chamber has received

     8         complaints from them) that Leavenworth hotel partners have received

     9         reservation cancellations from people who had booked reservations but

10             decided not to come after being misled by Projekt Bayern’s social media

11             posts.

12]         14.Because of the false information being disseminated by Projekt Bayern, the

13             Chamber has had to invest time and resources into trying to correct false

14             impressions by members of the public, and this has taken away time and

15             resources that would be better used in organizing and promoting Oktoberfest

16             events for the benefit of the City of Leavenworth and its residents and

17             businesses.    I attach as Exhibit E some examples of direct messaging on the

18             Chamber’s Facebook page that show some of our efforts to correct public

19             perceptions based on false information spread by Projekt Bayern

20             Association.

21          15.1t is my belief that, because of the actions of Projekt Bayern Association, a

22             substantial segment of the public wrongly perceives that the city of

23
          DECLARATION        OF TROY CAMPBELL    IN            LEE & BAYES     po.        Suite     1400
          SUPPORT OF MOTION FOR PRELIMINARY                    pa.
                                                                est Riverside Avenue,       Suite

          INJUNCTION - 5                                       Telephone: (509) 324-9256 Fax: (509) 323-8979
Case 2:22-cv-00174-TOR    ECF No. 12    filed 08/26/22    PageID.473 Page 6 of 32




     Leavenworth and the Chamber have decided to abandon the tradition of the

     annual Leavenworth Oktoberfest.

   16.This inaccurate public perception is harmful to the City of Leavenworth, the

     Chamber, and the businesses the Chamber supports. Despite our efforts to

     publicize the true facts, Projekt Bayern continues its aggressive campaign to

     confuse and mislead the public though its claims that there will be no

     Leavenworth Oktoberfest celebration in 2022.




DECLARATION OF TROY CAMPBELL IN                     LEE & HAYES, P.C.
SUPPORT OF MOTION FOR PRELIMINARY                   Re
                                                    601 West Riverside Avenue, Suite 1400

INJUNCTION - 6                                      Telephone: (509) 324-9256 Fax: (509) 323-8979
     Case 2:22-cv-00174-TOR       ECF No. 12       filed 08/26/22           PageID.474 Page 7 of 32




           I declare under penalty of perjury of the laws of the United States of America

    that the foregoing statements are true and correct, and as to statements of belief, that

    I believe them to be true.



    Executed this 12" day of August 2022, at Leavenworth, Washington, via my

    signature below.                                                                  )                      5

                                             ’     Ny
                                                           /                     rd
                                                                                      y
9




                                                      v,
                                                                      oy,
                                                 Tog Campbell
                                                       ampbell
©




                                                 Executive Director
                                                 Leavenworth Chamber of Commerce




    DECLARATION        OF TROY CAMPBELL     IN                 Loe
                                                               LEE x Hayes
                                                                     a he                           Suite
                                                                                                    Suite    1400
    SUPPORT OF MOTION FOR PRELIMINARY                          a,
                                                               Spokane,est Washington
                                                                      est    Riverside
                                                                             Riverside
                                                                                        99201
                                                                                       Avenue,
                                                                                          Avenue,    duite
                                                                                                     duite

    INJUNCTION - 7
                 7                                             Telephone: (509) 324-9256 Fax: (509) 323-8979
 Case 2:22-cv-00174-TOR        ECF No. 12   filed 08/26/22   PageID.475 Page 8 of 32




                             EXHIBITA
                             EXHIBIT A




                                                                  ce&Hayes”
                                                             www.leehayes.com 509-324-9256
                                                             www.leehayes.com 509-324-9256
Declaration of Troy Campbell - 8
       Case 2:22-cv-00174-TOR                      ECF No. 12            filed 08/26/22        PageID.476 Page 9 of 32

                                                             2022 Events Announced — Leavenworth   Chamber




                                                             Home    About    Membership   Programs   Bavarian Blog     Jobs     ©)   o

                                                                                              Business Directory      Visiting




    Feb 3



     2022 Events Announced
    Contact: Jessica Stoller, Leavenworth Chamber of Commerce, 509-548-5807, media@leavenworth.org




                              Leavenworth Announces Updated Slate of Festivals and Events for 2022


                               In-person activities; revamped Oktoberfest return to the Bavarian Village




    LEAVENWORTH, WA -February 1, 2022 — The Bavarian Village of Leavenworth is emerging from two years of a
    relative quiet event pandemic-related calendar to a 2022 calendar filled with long-standing traditions, re-imagined
    favorites, and new event offerings.




    “The Chamber is optimistic and fully committed to bringing more things back online, and while we will continue to take
    every necessary precaution, we want 2022 to be the start of something better, with the events and festivals our
    visitors have come to know and love plus some new exciting additions” said Leavenworth Chamber of Commerce

    Executive Director, Troy Campbell.




    Here is a quick look at what events are currently being planned through the fall of 2022 by groups and non-profits in
    the Leavenworth area:




    FEBRUARY

        Village of Lights: Love from Leavenworth & Valentine's Giveaway — Our half a million lights stay up for the entire
    month of February with a romantic new twist! A free online calendar featuring daily giveaways leading up to grand prize
    winner at the end of the month who will receive a romantic adventure for two to Leavenworth (all month).


        Fasching Carnival - Cirque Cadia Fire Dancers and roving street performers return to downtown (Feb. 19-20).

https://www.leavenworthchamber.org/bavarian-blog/fvms3vagrntp87zk9b2d3ws2fs2uqgr                                                          1/4


     Declaration of Troy Campbell - 9
      Case 2:22-cv-00174-TOR                      ECF No. 12            filed 08/26/22        PageID.477 Page 10 of 32

                                                             2022 Events Announced — Leavenworth   Chamber

    APRIL

          Restaurant Appreciation Month — A celebration of all the service workers and restaurateurs who make life in
    Leavenworth so much tastier. Featured dishes, local swag, and dining giveaways (all month).




    MAY

          Maifest This annual Bavarian tradition returns to welcome the Spring, this year with expanded entertainment
    including traditional Maipole dancing and Festzug march through downtown; a cider sip; fun run; Mother's Day flowers
    and treats; chainsaw carvers and live German music and performers. No longer just one weekend, Maifest activities

    and events will take place on every weekend in May! (All Month)


          Leavenworth Alphorn Celebration — Ensembles and soloists showcase the iconic alphorn over a performance-
    filled weekend (May 28-29).




    JUNE - AUGUST

          Leavenworth International Accordion Festival —- The Northwest Accordion Society returns with competitions,

    performances, workshops,
                           jam sessions and the delightful Accordion Parade (June 16-19).

          Music in the Gazebo - Front Street Park comes alive with live German music every summer weekend (and many
    weekdays).


          Leavenworth Summer Theater — Outdoor theater at its best returns with three beloved musicals - The Music Man;"

    “The Secret Garden” and the iconic “The Sound of Music” (Season runs July 8 through Aug. 28).




    SEPTEMBER

        Autumn Leaf Festival -Leavenworth's longest-running festival returns to celebrate this enchanting time of year
    with its 59th festival. Highlights include food booths, music in the park, car show, kid's parade, and the Grand Parade
    with the 2022 Royal Lady (Sept. 23-25).




    OCTOBER

          Oktoberfest — After a two-year hiatus, Leavenworth will play host once again to a revamped, version of this annual
    German tradition. Expect authentic German trachten, live entertainment, dancing, family friendly activities, artisan
    vendors and, of course, beer and brats (specific dates TBD).




https://www.leavenworthchamber.org/bavarian-blog/fvms3vagrntp87zk9b2d3ws2fs2uqgr                                               2/4


     Declaration of Troy Campbell - 10
         Case 2:22-cv-00174-TOR                   ECF No. 12            filed 08/26/22       PageID.478 Page 11 of 32

                                                             2022 Events Announced — Leavenworth Chamber

    SE Productions from Seattle will be hosting this new October festival and are no strangers to Leavenworth events
    having brought hundreds of groups to Leavenworth festivals over the last ten years. “We are excited to work with SE
    Productions” said Christie Voos, Communications Analyst for the City of Leavenworth, “their approach to creating this
    new festival will positively serve the businesses, community and our guests.”




    *Events are subject to change due to COVID-19 mandates and restrictions




    To find out more about Leavenworth and the 2022 event schedule, and to check lodging availability for the dates you

    are looking for, please visit www.leavenworth.org.




                                                                       HitH




                                   :                                                                That's a Wrap,
     {      Oktoberfest & Locals Night                                                             Chistmaston,           >




                                        Chamber Featured Member

           We are thankful to the over 500 Leavenworth Chamber of Commerce members who support our programs,
                                                     promotions, initiatives, and events.
                   A special thank you to our featured member, the Bavarian Lodge, for their additional support.




https://www.leavenworthchamber.org/bavarian-blog/fvms3vagrntp87zk9b2d3ws2fs2uqgr                                              3/4


     Declaration of Troy Campbell - 11
Case 2:22-cv-00174-TOR        ECF No. 12   filed 08/26/22   PageID.479 Page 12 of 32




                             EXHIBIT B
                             EXHIBIT B




                                                                 ce&Hayes”
                                                            www.leehayes.com 509-324-9256
                                                            www.leehayes.com 509-324-9256
Declaration of Troy Campbell - 12
       Case 2:22-cv-00174-TOR                      ECF No. 12        filed 08/26/22             PageID.480 Page 13 of 32

8/10/22, 8:24
8/10/22, 8:24 AM
              AM                                                    Bavarian Bulletin
                                                                    Bavarian Bulletin -- August 2022
                                                                                         August 2022


    Subscribe
    Subscribe             Past
                          Past Issues
                               Issues                                                                          Translate
                                                                                                               Translate ¥



                   View this email in your browser




                                 The
                                 The Bavarian
                                     Bavarian Bulletin
                                              Bulletin
                                                                August 2022
                                                                August 2022




https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816
https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816                                                                1/5
                                                                                                                             1/5


     Declaration of Troy Campbell - 13
       Case 2:22-cv-00174-TOR                            ECF No. 12      filed 08/26/22             PageID.481 Page 14 of 32

8/10/22, 8:24
8/10/22, 8:24 AM
              AM                                                        Bavarian
                                                                        Bavarian Bulletin
                                                                                 Bulletin -- August
                                                                                             August 2022
                                                                                                    2022


    Subscribe
    Subscribe             Past
                          Past Issues
                               Issues                                                                                   Translate
                                                                                                                        Translate ¥




                                                     3       rm    MAAN
                                                     p   a         Rl    IH   [A        REX

                                                                                        BOR
                                                 Z       HOE[TI]          a


                                            ilies                             a pas
                                                     Er                            ANN



                                    Oktoberfest           LEAVENWORTH,
                                                                     WA




                   In
                   In case
                      case you
                           you hadn't
                               hadn't heard,
                                       heard, The
                                                The Chamber
                                                      Chamber ofof Commerce
                                                                   Commerce isis pleased
                                                                                 pleased toto announce
                                                                                              announce that
                                                                                                         that
                   Oktoberfest is
                   Oktoberfest is returning
                                  returning this
                                             this fall
                                                  fall with longstanding Bavarian
                                                       with longstanding Bavarian traditions
                                                                                    traditions of
                                                                                               of music,
                                                                                                  music, dancing
                                                                                                          dancing
                   and
                   and ceremonial
                       ceremonial tapping
                                   tapping of
                                            of the
                                               the kegs!
                                                    kegs! This
                                                          This year’s
                                                               year’s dates
                                                                      dates are
                                                                            are September
                                                                                September 30-October
                                                                                          30-October 1,
                                                                                                     1,
                   October
                   October 7-8,
                           7-8, and
                                and October
                                     October 14-15.
                                               14-15.


                   Two fully
                   Two  fully programmed
                              programmed venues
                                            venues (beer
                                                    (beer gardens)
                                                           gardens) will
                                                                     will be
                                                                          be located
                                                                              located at
                                                                                       at the
                                                                                          the Leavenworth
                                                                                               Leavenworth Festhalle
                                                                                                             Festhalle
                   and at
                   and at Front
                           Front Street
                                 Street Park,
                                        Park, where  we will
                                              where we   will be
                                                              be serving
                                                                 serving our
                                                                           our very
                                                                               very own
                                                                                     own Festbier
                                                                                           Festbier as
                                                                                                    as well
                                                                                                       well as
                                                                                                            as
                   German   favorites. With
                   German favorites.   With aa full
                                                full street
                                                     street closure,
                                                             closure, outdoor
                                                                       outdoor restaurants
                                                                                restaurants and
                                                                                             and beer
                                                                                                  beer gardens,
                                                                                                        gardens, this
                                                                                                                 this
                   year’s Oktoberfest
                   year’s Oktoberfest will
                                       will offer
                                            offer more
                                                    more ways
                                                           ways toto enjoy
                                                                     enjoy the
                                                                           the weekends
                                                                               weekends andand the
                                                                                                the village
                                                                                                    village of
                                                                                                            of
                   Leavenworth!
                   Leavenworth!


                   New for
                   New for 2022
                           2022 is
                                is a
                                   a Ferris
                                     Ferris Wheel
                                            Wheel at
                                                  at the
                                                     the Kinderplatz
                                                         Kinderplatz where there will
                                                                     where there will be
                                                                                      be family friendly
                                                                                         family friendly
                   activities
                   activities and
                              and a
                                  a root
                                    root beer
                                         beer garden.
                                              garden. Head
                                                      Head on
                                                           on over
                                                              over to
                                                                   to the
                                                                      the website
                                                                          website to
                                                                                  to learn
                                                                                     learn more.
                                                                                           more.




                                                             Oktoberfest Page




https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816
https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816                                                                         2/5


     Declaration of Troy Campbell - 14
       Case 2:22-cv-00174-TOR                      ECF No. 12      filed 08/26/22             PageID.482 Page 15 of 32

8/10/22, 8:24
8/10/22, 8:24 AM
              AM                                                  Bavarian Bulletin
                                                                  Bavarian Bulletin -- August 2022
                                                                                       August 2022


    Subscribe
    Subscribe              Past
                           Past Issues
                                Issues                                                                                      Translate
                                                                                                                            Translate ¥




                                        { Okt iy                                                     y
                                                                                                     N         7,   {   i


                                                                                                         3A)
                                                       v i           Di         WA




                   Oktoberfest Partner
                   Oktoberfest Partner Program
                                       Program
                   Chamber
                   Chamber member
                           member businesses
                                  businesses that
                                             that want
                                                  want to
                                                       to participate
                                                          participate in
                                                                      in Oktoberfest
                                                                         Oktoberfest promotions,
                                                                                     promotions, have
                                                                                                 have an
                                                                                                      an
                   event
                   event to
                         to promote,
                            promote, and
                                     and support
                                         support the
                                                 the event
                                                     event can
                                                           can sign
                                                               sign up
                                                                    up to
                                                                       to be
                                                                          be partner.
                                                                             partner.


                   Partners
                   Partners receive:
                            receive:

                       » Oktoberfest
                         Oktoberfest Social
                                     Social Media
                                            Media Promo
                                                  Promo Kits
                                                        Kits -- Includes
                                                                Includes appropriately
                                                                         appropriately sized
                                                                                       sized Oktoberfest
                                                                                             Oktoberfest logo
                                                                                                         logo
                           images for
                           images     Facebook, Instagram,
                                  for Facebook, Instagram, Instagram
                                                           Instagram Stories
                                                                     Stories and
                                                                             and Twitter,
                                                                                 Twitter, aa Word
                                                                                             Word document
                                                                                                  document
                           with
                           with suggested
                                suggested accompanying
                                          accompanying text
                                                       text and
                                                            and hashtags
                                                                hashtags and
                                                                         and a
                                                                             a "Proud
                                                                               "Proud Partner"
                                                                                      Partner" .png
                                                                                               .png you
                                                                                                    you
                           can add
                           can add to
                                   to your
                                      your website
                                           website (with
                                                   (with link
                                                         link to
                                                              to event
                                                                 event page)
                                                                       page) ifif you
                                                                                  you have
                                                                                      have a
                                                                                           a good
                                                                                             good spot
                                                                                                  spot for
                                                                                                       for it.
                                                                                                           it.
                       » Your
                         Your logo
                              logo on
                                   on the
                                      the Oktoberfest
                                          Oktoberfest page.
                                                      page.
                       » Oktoberfest
                         Oktoberfest t-shirts
                                     t-shirts for
                                              for your
                                                  your staff.
                                                       staff.
                       «   Special
                           Special promo
                                   promo page   for your
                                          page for   your discount,
                                                           discount, event
                                                                     event or
                                                                           or special
                                                                              special on
                                                                                      on Leavenworth.org with a
                                                                                         Leavenworth.org with a
                           QR code
                           QR       from the
                               code from               program.
                                             official program.
                                         the official
                       » "Trachten
                         "Trachten Try
                                   Try On
                                       On Day"
                                          Day" for
                                               for staff.
                                                   staff.
                       »   Oktoberfest
                           Oktoberfest promotional
                                       promotional shopping
                                                   shopping bags.
                                                            bags.
                       «   Inclusion
                           Inclusion in
                                     in Oktoberfest
                                        Oktoberfest promotions
                                                    promotions and
                                                               and giveaways.
                                                                   giveaways.



                   There
                   There is
                          is no
                             no cost
                                 cost for
                                      for this
                                          this program,  just your
                                                program, just your help
                                                                    help in
                                                                         in using
                                                                            using the
                                                                                  the media
                                                                                      media kits
                                                                                            kits and
                                                                                                 and promoting
                                                                                                     promoting and
                                                                                                               and
                   supporting Oktoberfest
                   supporting   Oktoberfest in in Leavenworth
                                                  Leavenworth inin 2022!
                                                                   2022!




                                       Sign up to be an Oktoberfest Partner




https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816
https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816                                                                             3/5


     Declaration of Troy Campbell - 15
       Case 2:22-cv-00174-TOR                      ECF No. 12    filed 08/26/22             PageID.483 Page 16 of 32

8/10/22, 8:24
8/10/22, 8:24 AM
              AM                                                Bavarian Bulletin
                                                                Bavarian Bulletin -- August 2022
                                                                                     August 2022


    Subscribe
    Subscribe
                   OnePast
                         more
                      Past Issues
                           Issues
                                  month to bid on a Maifest carving!Translate
                                                                    Translate ¥



                   Bids for this
                   Bids for this silent
                                 silent auction will be
                                        auction will be accepted
                                                        accepted until
                                                                 until August
                                                                       August 31st.
                                                                              31st. The
                                                                                    The winning
                                                                                        winning bids
                                                                                                bids will
                                                                                                     will be
                                                                                                          be
                   announced
                   announced on
                             on September
                                September 2nd
                                          2nd and
                                              and app
                                                  app proceeds will shared
                                                      proceeds will shared with:
                                                                           with:
                   1.
                   1. Upper
                      Upper Valley
                            Valley Mend
                                   Mend
                   2. Chelan
                   2. Chelan County
                             County Fire
                                    Fire District
                                         District #3
                                                  #3 Firefighters
                                                     Firefighters Association
                                                                  Association
                   3. UVCares
                   3. UVCares
                   4.
                   4. Chumstick
                      Chumstick Wildfire
                                Wildfire Stewardship
                                         Stewardship Coalition
                                                     Coalition


                   Carvings are
                   Carvings are on
                                on display
                                   display throughout
                                           throughout the
                                                      the village,
                                                          village, their
                                                                   their locations
                                                                         locations can
                                                                                   can be
                                                                                       be found
                                                                                          found here.
                                                                                                here.


                   The
                   The current
                       current top
                               top bids
                                   bids to
                                        to beat:
                                           beat:
                   The Bear
                   The Bear -- $1,500
                               $1,500
                   The Stein
                   The Stein -- $400
                                $400
                   The Gnome
                   The Gnome -- $1,000
                                   $1,000
                   The Bench
                   The Bench -- $1,000
                                $1,000




                                                         PLACE YOUR BID!

https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816
https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816                                                          4/5


     Declaration of Troy Campbell - 16
       Case 2:22-cv-00174-TOR                       ECF No. 12          filed 08/26/22             PageID.484 Page 17 of 32

8/10/22, 8:24
8/10/22, 8:24 AM
              AM                                                       Bavarian Bulletin
                                                                       Bavarian Bulletin -- August 2022
                                                                                            August 2022


    Subscribe
    Subscribe             Past
                          Past Issues
                               Issues                                                                                    Translate
                                                                                                                         Translate ¥




                   Cancellations
                   Cancellations due
                                 due to
                                     to heat
                                        heat
                   Due
                   Due toto the
                            the extreme
                                extreme heat
                                         heat forecasted
                                              forecasted for
                                                          for the
                                                              the weekend,
                                                                  weekend, the
                                                                           the live
                                                                               live music
                                                                                    music at
                                                                                          at the
                                                                                             the Gazebo
                                                                                                 Gazebo and
                                                                                                        and Art
                                                                                                            Art
                   in
                   in the
                      the Park
                           Park have
                                have been
                                      been cancelled
                                            cancelled this
                                                      this weekend.
                                                           weekend.




                        Learn about
                        Learn about other
                                    other events
                                          events and
                                                 and live
                                                     live music
                                                          music this
                                                                this holiday
                                                                     holiday weekend
                                                                             weekend in
                                                                                     in Leavenworth
                                                                                        Leavenworth on
                                                                                                    on
                                                                our
                                                                our Events
                                                                    Events Page.
                                                                           Page.


                     Do you have
                     Do you have an
                                 an event you would
                                    event you would like
                                                    like added
                                                         added to
                                                               to the
                                                                  the calendar?
                                                                      calendar? Visit
                                                                                Visit the
                                                                                      the Leavenworth.org
                                                                                          Leavenworth.org
                             Events Page
                             Events Page and
                                         and click
                                             click on
                                                   on "Add
                                                      "Add Event"
                                                           Event" at
                                                                  at the
                                                                     the bottom
                                                                         bottom right
                                                                                right of
                                                                                      of the
                                                                                         the calendar.
                                                                                             calendar.




                      Please forward
                      Please forward this
                                     this email
                                          email to
                                                to your
                                                    your front
                                                          front line
                                                                line &
                                                                     & front
                                                                       front desk
                                                                             desk team
                                                                                  team
                     members   so they may  share  the  information   with your
                     members so they may share the information with your guests.guests.




                                    WW   Twitter
                                         Twitter        f   Facebook
                                                            Facebook        ©    Instagram
                                                                                 Instagram           ©    YouTube
                                                                                                          YouTube



                                  Copyright © 2022 Leavenworth Chamber of Commerce, All rights reserved.



                                                   Want to change how you receive these emails?
                     You can update
                             update your
                                    your preferences
                                         preferences or
                                                     or unsubscribe
                                                        unsubscribe from
                                                                    from this
                                                                         this list.
                                                                              list Please note: If you do this you will be
                      unsubscribed from ALL Chamber emails not just this one. If you have questions, please call us at
                                                                 (509)548-5807.




https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816
https://mailchi.mp/4fb589d97e2e/friday-round-up-sept-12124816                                                                          5/5


     Declaration of Troy Campbell - 17
Case 2:22-cv-00174-TOR        ECF No. 12   filed 08/26/22   PageID.485 Page 18 of 32




                             EXHIBITC
                             EXHIBIT C




                                                                 ce&Hayes”
                                                            www.leehayes.com 509-324-9256
                                                            www.leehayes.com 509-324-9256
Declaration of Troy Campbell - 18
   Case 2:22-cv-00174-TOR                           ECF No. 12              filed 08/26/22              PageID.486 Page 19 of 32




                                      Sobba Law
                                      Sobba   Law Group
                                                   Group PLLC
                                                            PLLC
                                             PO Box
                                             PO  Box 3713
                                                      3713
                                        Ketchum, Idaho
                                        Ketchum,   Idaho 83340
                                                          83340
                                           T: 206.877.3382
                                           T:  206.877.3382
                                        johns@sobbalaw.com
                                        johns@sobbalaw.com
              _____________________________________________________________________

May 2,
May 2, 2022
       2022                                                                      Sent via
                                                                                 Sent via Email
                                                                                          Email

Leavenworth Chamber
Leavenworth   Chamber ofof Commerce
                           Commerce
Attn: Troy
Attn: Troy Campbell
            Campbell
Leavenworth, WA
Leavenworth,   WA
Email: troy@leavenworth.org
Email:  troy@Ileavenworth.org


Re: Trademark
Re: Trademark Infringement,
              Infringement, Cease
                            Cease and
                                  and Desist
                                      Desist

Dear Mr.
Dear Mr. Campbell:
         Campbell:

II represent
   represent Projekt
               Projekt Bayern
                         Bayern Association,
                                   Association, aa Washington
                                                       Washington non-profit
                                                                         non-profit corporation
                                                                                     corporation (“Projekt
                                                                                                    (“Projekt Bayern”).
                                                                                                               Bayern”). Projekt
                                                                                                                           Projekt
 Bayern operates
Bayern    operates outout of
                           of Leavenworth,
                               Leavenworth, Washington
                                                 Washington and    and owns
                                                                         owns the
                                                                                the trademark
                                                                                    trademark “LEAVENWORTH
                                                                                                 “LEAVENWORTH
OKTOBERFEST®” registered
OKTOBERFEST®”               registered with     the U.S.
                                         with the    U.S. Patent
                                                           Patent and and Trademark
                                                                           Trademark Office,
                                                                                        Office, U.S.
                                                                                                  U.S. Registration
                                                                                                        Registration Number
                                                                                                                      Number
5,239,374 that
5,239,374     that was
                    was registered
                          registered on
                                      on April
                                           April 18,
                                                   18, 2016.
                                                        2016. It It is
                                                                     is important
                                                                        important for
                                                                                    for you
                                                                                        you toto understand
                                                                                                 understand that
                                                                                                              that Projekt
                                                                                                                   Projekt Bayern
                                                                                                                            Bayern
 has actively
has   actively used
                 used this
                       this trademark
                             trademark and and promoted
                                                promoted thisthis brand
                                                                    brand since
                                                                            since August
                                                                                   August 1,1, 1998.
                                                                                                1998. Projekt
                                                                                                        Projekt Bayern’s
                                                                                                                 Bayern’s
trademark registration
trademark     registration protects
                              protects its
                                        its rights
                                             rights in
                                                     in the
                                                        the “LEAVENWORTH
                                                             “LEAVENWORTH OKTOBERFEST®” OKTOBERFEST®” trademark  trademark
 nationally.
nationally.

ItIt has
     has come
           come to  to my
                        my attention
                             attention that
                                          that you
                                                you are
                                                      are advertising
                                                            advertising an  an event
                                                                                 event on  on the
                                                                                               the Chamber
                                                                                                    Chamber of   of Commerce
                                                                                                                     Commerce website,
                                                                                                                                     website,
“Bavariafest”. As
“Bavariafest”.           As you
                              you know
                                    know or or should
                                                should know
                                                          know thisthis mark
                                                                         mark is  is directly
                                                                                      directly competitive
                                                                                                  competitive withwith andand confusingly
                                                                                                                                confusingly
similar to
similar      to “LEAVENWORTH
                “LEAVENWORTH OKTOBERFEST®”.   OKTOBERFEST®”. While             While I| appreciate
                                                                                            appreciate your
                                                                                                          your desire
                                                                                                                 desire to to use
                                                                                                                              use aa popular
                                                                                                                                      popular
name and
name       and tailgate
                 tailgate on on aa well
                                   well known
                                          known brand
                                                    brand likelike “LEAVENWORTH
                                                                    “LEAVENWORTH OKTOBERFEST”,     OKTOBERFEST”, this         this activity
                                                                                                                                    activity is
                                                                                                                                              is
illegal under
illegal     under the the Lanham
                            Lanham Act.Act. HadHad you
                                                    you conducted
                                                            conducted an   an initial
                                                                                initial trademark
                                                                                          trademark search
                                                                                                         search via
                                                                                                                  via the
                                                                                                                        the U.S.
                                                                                                                             U.S. Patent
                                                                                                                                    Patent and
                                                                                                                                            and
Trademark Office
Trademark          Office or or aa web
                                   web search
                                          search (e.g.
                                                   (e.g. via
                                                           via Google)
                                                                 Google) you you would
                                                                                    would havehave noticed
                                                                                                      noticed the
                                                                                                                the existence
                                                                                                                      existence of of
“LEAVENWORTH OKTOBERFEST®”
“LEAVENWORTH                    OKTOBERFEST®” and             and Projekt
                                                                     Projekt Bayern’s
                                                                                Bayern’s prior prior rights
                                                                                                      rights in
                                                                                                              in this
                                                                                                                  this trademark.
                                                                                                                         trademark.
Unfortunately, your
Unfortunately,           your use
                                use of
                                     of the
                                         the same
                                              same oror any
                                                          any similar
                                                                similar name
                                                                           name is   is likely
                                                                                         likely to
                                                                                                 to cause
                                                                                                    cause consumer
                                                                                                            consumer confusion.
                                                                                                                            confusion.
Consumers are
Consumers          are highly
                         highly likely
                                   likely to
                                           to assume
                                               assume an  an association
                                                               association between
                                                                                between this this event
                                                                                                   event and
                                                                                                           and mymy client,
                                                                                                                       client, Projekt
                                                                                                                                Projekt Bayern.
                                                                                                                                          Bayern.
Based on
Based       on the
                the foregoing
                      foregoing and and consistent
                                          consistent withwith thethe rights
                                                                      rights and
                                                                               and privileges
                                                                                       privileges granted
                                                                                                     granted toto Projekt
                                                                                                                    Projekt Bayern
                                                                                                                               Bayern under
                                                                                                                                         under the
                                                                                                                                                 the
Lanham (Trademark)
Lanham         (Trademark) Act,   Act, I| insist
                                           insist that
                                                  that you
                                                         you promptly
                                                                promptly discontinue
                                                                              discontinue your  your use
                                                                                                       use of
                                                                                                            of Bavariafest
                                                                                                                Bavariafest or   or any
                                                                                                                                     any name(s)
                                                                                                                                          name(s)
that is
that    is identical
            identical to  to and/or
                             and/or confusingly
                                       confusingly similar
                                                        similar to to Projekt
                                                                       Projekt Bayern’s
                                                                                   Bayern’s registered
                                                                                                 registered trademark.
                                                                                                              trademark.

Please be
Please  be advised
           advised that
                     that Projekt
                           Projekt Bayern
                                      Bayern hashas several
                                                     several legal
                                                              legal and
                                                                     and equitable
                                                                            equitable remedies
                                                                                           remedies available
                                                                                                      available to to protect
                                                                                                                      protect itsits
trademarks and
trademarks   and its
                  its associated
                      associated goodwill
                                     goodwill and and considerable
                                                       considerable financial
                                                                       financial investment.
                                                                                      investment. Projekt
                                                                                                      Projekt Bayern
                                                                                                                 Bayern is is willing
                                                                                                                               willing
to cooperate
to cooperate with    you, however,
              with you,     however, it  it will
                                            will and
                                                  and must
                                                       must enforce
                                                             enforce itsits legal
                                                                             legal rights.
                                                                                     rights. You
                                                                                              You can
                                                                                                    can avoid
                                                                                                         avoid unnecessary
                                                                                                                  unnecessary legal  legal
action and
action and possible
            possible attorney’s
                       attorney’s feesfees byby promptly
                                                promptly ceasing
                                                            ceasing and
                                                                      and desisting
                                                                             desisting fromfrom any
                                                                                                 any and
                                                                                                      and all
                                                                                                            all sales
                                                                                                                 sales of
                                                                                                                       of goods
                                                                                                                           goods and  and
marketing of
marketing   of events
               events using
                        using or or incorporating
                                    incorporating “LEAVENWORTH
                                                      “LEAVENWORTH OKTOBERFEST®”   OKTOBERFEST®” and/or        and/or use
                                                                                                                       use of of any
                                                                                                                                 any
other confusingly
other confusingly similar
                     similar names.
                                names. You You must
                                                 must cease
                                                        cease and
                                                               and desist
                                                                    desist allall promotion
                                                                                   promotion and/or
                                                                                                 and/or marketing
                                                                                                          marketing of  of
Bavariafest, directly
Bavariafest,  directly oror indirectly,
                             indirectly, together
                                            together with
                                                      with the
                                                            the use
                                                                 use of
                                                                      of any
                                                                           any and
                                                                                 and all
                                                                                       all confusingly
                                                                                            confusingly similar
                                                                                                          similar names.
                                                                                                                     names.



  Declaration of Troy Campbell - 19
Case 2:22-cv-00174-TOR                 ECF No. 12          filed 08/26/22        PageID.487 Page 20 of 32




 Mr. Troy
 Mr. Troy Campbell
           Campbell
 May 2,
 May  2, 2022
         2022
 Page 2
 Page 2



 Additionally, you
 Additionally,         must sign
                  you must  sign this
                                 this letter
                                       letter and
                                              and return
                                                   return it
                                                          it to
                                                             to me
                                                                me within   ten (10)
                                                                   within ten    (10) days
                                                                                       days of
                                                                                            of the
                                                                                                the date
                                                                                                    date hereof.
                                                                                                         hereof. If
                                                                                                                  If your
                                                                                                                     your
 response is
 response  is not
              not forthcoming,
                   forthcoming, I| will
                                    will advise
                                          advise Projekt
                                                  Projekt Bayern
                                                            Bayern to
                                                                   to pursue
                                                                       pursue all
                                                                                all legal
                                                                                    legal and
                                                                                          and equitable
                                                                                               equitable remedies
                                                                                                          remedies
 available at
 available at its
               its disposal
                   disposal against
                            against the
                                     the Leavenworth
                                           Leavenworth Chamber
                                                          Chamber of of Commerce.
                                                                        Commerce.

 Sincerely,



AY                   Sh

 John W.
 John W. Sobba
         Sobba

 cc: Projekt
 cc: Projekt Bayern
             Bayern


 By signing
 By  signing below,
             below, I| acknowledge
                       acknowledge that
                                   that I| have
                                           have read
                                                read and
                                                     and understood
                                                         understood and
                                                                    and agree
                                                                        agree to
                                                                              to the
                                                                                 the above
                                                                                     above terms
                                                                                           terms and
                                                                                                 and
 conditions.
 conditions.

 By:
 By:

 Name:
 Name:

 Date:
 Date:




Declaration of Troy Campbell - 20
Case 2:22-cv-00174-TOR        ECF No. 12   filed 08/26/22   PageID.488 Page 21 of 32




                             EXHIBIT D
                             EXHIBIT D




                                                                 ce&Hayes”
                                                            www.leehayes.com 509-324-9256
                                                            www.leehayes.com 509-324-9256
Declaration of Troy Campbell - 21
       Case 2:22-cv-00174-TOR                  ECF No. 12          filed 08/26/22            PageID.489 Page 22 of 32

8/3/22, 11:43 AM                                            Leavenworth Oktoberfest - Posts | Facebook




                                  Leavenworth                      Oktoberfest
                                  @oktoberfestWA -             4.6 353 reviews              - Local business



                     Bl Send message
             Hi! Please let us know how we can help.


       Home          Reviews        Photos         Videos        More                               Ml Like           [|




                                   Leavenworth Oktoberfest
                           vie)    July 6 at 6:01 AM -

                          As you all have heard Leavenworth Oktoberfest is now in Wenatchee.
                          The chamber and city in Leavenworth are lying to the visitors.
                          Leavenworth Oktoberfest is owned by Projekt Bayern. The mayor
                          decided to not sign permits and is trying to steal an event the city has
                          never put anything into. This is how Carl is. Never does anything on his
                          own. They are lying to keep hotel rates up. There is no Oktoberfest in
                          leavenworth. | Repeat there is no Oktoberfest in Leavenworth this year.
                          If you are staying in Leavenworth and your hotel has said there is an
                          Oktoberfest they are lying also. They all have been informed that
                          Oktoberfest is in Wenatchee. We will have shuttles from Leavenworth
                          to Wenatchee so people can still stay in Leavenworth. But if they are
                          charging festival rates there is no festival in Leavenworth. Have a great
                          day. | have deleted the complainers that live in leavenworth. This post
                          is to inform visitors what is really happening.                                                  |]

                          HS          1K                                        579 Comments             513 Shares
https://www.facebook.com/oktoberfestWA/posts/pfbid02gLwCmyjLMAfvxf16VvUvhSJHdcSAS68GzcZ2ZX3sir7dpmntQoYVCkieZ8J1BNTXI           1/85


      Declaration of Troy Campbell - 22
Case 2:22-cv-00174-TOR        ECF No. 12   filed 08/26/22   PageID.490 Page 23 of 32




                              EXHIBIT E
                              EXHIBIT E




                                                                 ce&Hayes”
                                                            www.leehayes.com 509-324-9256
                                                            www.leehayes.com 509-324-9256
Declaration of Troy Campbell - 23
       Case 2:22-cv-00174-TOR                ECF No. 12     filed 08/26/22            PageID.491 Page 24 of 32

8/14/22, 10:22 AM                                         Visit Leavenworth WA, | Facebook




                                   Visit Leavenworth WA,
                                   @LeavenworthWA   - Tourist Information Center



                       BW Learn more
                      Bl   leavenworth.org




https://www.facebook.com/LeavenworthWA/                                                                          1/48


      Declaration of Troy Campbell - 24
       Case 2:22-cv-00174-TOR                       ECF No. 12              filed 08/26/22            PageID.492 Page 25 of 32

8/14/22, 10:22 AM                                                         Visit Leavenworth WA, | Facebook



   0                                                                                                         +    ©    8




            “£_     Visit Leavenworth WA,
            IL)     uy29at400PM           Q@

          Oktoberfest is returning this fall with longstanding Bavarian traditions of music, dancing and
          ceremonial tapping of the kegs! This year’s dates are September 30-October 1, October 7-8, and
          October 14-15.
           wo fully programmed venues (beer gardens) will be located at the Leavenworth Festhalle and at
            ront Street Park, where we will be serving our very own Festbier as well as German favorites. With
          a full street closure, outdoor restaurants and beer gardens, this year s Oktoberfest will offer more
          ways to enjoy the weekends and the village of Leavenworth!
          New for 2022 is a Ferris Wheel at the Kinderplatz where there will be family friendly activities and
          a root beer garden. Visit eavenworth.org/Oktoberfest to learn more.




          #visitleavenworth #oktoberfestinleavenworth #leavenworthwa #Oktoberfest2022 #Prost!
          #washingtonstate #pnwonderland #travel #nature #mountains #adventure #pacificnorthwest
          Hlnmvraviarmiillama   Hvaaddvim      Hemmmmana AAarnAiintaine    Hlhaiavia   Henman   Ann

https://www.facebook.com/LeavenworthWA/                                                                                          33/48


      Declaration of Troy Campbell - 25
        Case 2:22-cv-00174-TOR                          ECF No. 12               filed 08/26/22                 PageID.493 Page 26 of 32

8/14/22, 10:22 AM                                                              Visit Leavenworth WA, | Facebook



    0                                                                                                                              +            ©        8


                                                  (Oktoberfest) 3    LEAVENWORTH,           WA




                                                NN                                                                         g-2
                                                                                                                                 CAEN}      N
                                                                                                                                                    Ne   J&R
                                                             1             .
                                                TATA   ASA       |    yr             :            x,   ©   id    Ph   SB          =      ASTIRER




                                                                                                           SE
                                                                                                 eo                   DEER)

          ©0         KK                                                                                               127 Comments 274 Shares

                              Bl Like                                  Bl Comment                                                     Bl share

                                                                                                                                         All comments [|

                      Write    a comment...                                                                                               HEEB
                    Press Enter to post.

          8           William Howard                                            mw
                      Awesome photo and events to come
                      Like     Reply       2w

          Von         Christie Behr-Jensen
                      Going to be there during the week, not the weekend. Anything going on the 10th                                                           Qa
                      through the 13th of October?
                      Like     Reply       2w                                                                                                            oO
                  on
https://www.facebook.com/LeavenworthWA/                                                                                                                             34/48


      Declaration of Troy Campbell - 26
        Case 2:22-cv-00174-TOR                       ECF No. 12               filed 08/26/22            PageID.494 Page 27 of 32

8/14/22, 10:22 AM                                                           Visit Leavenworth WA, | Facebook



    0                                                                                                              +    ©   8
                           Teri F Miller
                           Christie Behr-Jensen check out Leavenworth.org for the most accurate and                             mo
                           current info .


                                                   LEAVENWORTH.ORG
                           THE CA                  Home


                           Like     Reply     2w

                    BB View 1 more reply
                    Brent Klaudt                                                  m
                    Stolen festival should be the name Carl
                    Like   Reply       19h

              ~Karen       Folden                                      m
                    It's Oktoberfest every day here
                    Like   Reply       2w

                    Cheryl Larson                                  m
                    Prettiest little town anywhere
                    Like   Reply       1w

         EH         Sabrina McClain                           mW
               Kristin rootbeer garden
                    Like   Reply       2w     Os     v3

         wb         Zia Kec ké     Chartrey                        m
                    I'll wait and see who performs
                    Like   Reply       2w            QO   2

                    Allison Rickman                                                                                wm
                    Tara Walling Leavenworth is having its own Oktoberfest this year!
                    Like   Reply       2w                                                                  pe) 3

                    Bl 1 Reply

          a         Greg Clauson
                    Jennifer Clauson If no Maui, how about Leavenworth?
                    Like   Reply       1w

                    Erica Serrano                                                     m
        9




                    | thought this was moved to Wenatchee?
                    Like   Reply       2w                              Os     2

                    I]     ya Author

                           Vi it Leavenworth WA
                           Erica Serrano Leavenworth is having its own its Oktoberfest and you can learn
                           more here leavenworth.org/oktoberfest/
https://www.facebook.com/LeavenworthWA/                                                                                              35/48


      Declaration of Troy Campbell - 27
        Case 2:22-cv-00174-TOR                                        ECF No. 12       filed 08/26/22            PageID.495 Page 28 of 32

8/14/22, 10:22 AM                                                                    Visit Leavenworth WA, | Facebook



    0                                                                                                                           +   ©     8

                              rei                       01        LEAVENWORTH.ORG
                                                                  Oktoberfest
                              WASHINGTON
                                        3%
                                Like         Reply           2w                                                                     OOs   13

                               &»            Danielle Winch                                                             m
                                         Visit Leavenworth WA, It won't be like pre covid!
                                             Like        Reply        1w

                       Bl View 1 more reply

          8)           Chri ty Lea
                       Desiree Wiensz Beth Ross Michelle Shidler Michelle Markman | would love to go                                           lu
                       with you ladies!!
                       Like     Reply          1w                                                                                         O

                       Bl 2 Replies

                       Stephanie Traw                                                                           m
                       Joey Traw, Ashley L Baker they decided to bring it back
                       Like     Reply          2w

                       BB 1 Reply
                          Top fan
                       Nicolette Richards                                                                           m
                       Mackenzie McQuery Chris Elrod Zack Kelley Alicia Davis
                       Like     Reply          1w                                                        0-

          7        )   Felicia Gregory
               ©       Richard Gregory                            m
                       Like     Reply          1w

                       Rachel Sapin                                                               m
                       oh man, Jared Heiden a root beer garden
                       Like     Reply          1w

                       Bl 1 Reply

                       Brianna Murra
                       Alexis Ward ywe should all meet up here for a weekend for this!                                      o
                       Like     Reply          2w

                       I 5 Replies

                       Lacey Gabrielle                                          mW
                       Gerardo Ibarra | want to go!!!
                       Like     Reply          1w

                       7na    Smith                 —
https://www.facebook.com/LeavenworthWA/                                                                                                             36/48


      Declaration of Troy Campbell - 28
        Case 2:22-cv-00174-TOR                     ECF No. 12      filed 08/26/22            PageID.496 Page 29 of 32

8/14/22, 10:22 AM                                                Visit Leavenworth WA, | Facebook



    0
          @         Chantele Cope
                    Danny Smith
                                          m


                    Like   Reply    1w

                    Barb Corbin           mw
                    Ashlee Roach
                    Like   Reply    2w

                    Lesia Garringer Oliver         m
                    Marcus
                    Like   Reply    2w

                    Breanna Gammell
        é




                    Greg Lawrence              m
                    Like   Reply    2w

                    MB 1 Reply
                    Melissa De LaVergne
        ©




                    Pam Morrow Christopher J Morrow Crystal Johnson Nicole Morrow (0 i: az                 lj #
                    Like   Reply    2w

                    Missy Po
        0




                    veve            H
                    ww
                    Like   Reply    2w

                    Tara Kelly Anderson        m
        2




                    Mikel Anderson
                    Like   Reply    2w

                    Praise Malabag             m
        &




                    Adam Falatovich
                    Like   Reply    2w

                    Reina Lara                          m
        ©




                    Lupe Y. Molina jalas? )
                    Like   Reply    See Translation         2w

                    Bl 1 Reply

                    Kim Menchaca Gallert           wm
        9




                    Mark Candee
                    Like   Reply    2w

                    Bl 1 Reply

                    Mercedes Cervantes         m
        @




                    Joey Almazan
                    Like   Reply    2w

https://www.facebook.com/LeavenworthWA/                                                                                 37/48


      Declaration of Troy Campbell - 29
       Case 2:22-cv-00174-TOR                          ECF No. 12     filed 08/26/22            PageID.497 Page 30 of 32

8/14/22, 10:22 AM                                                   Visit Leavenworth WA, | Facebook




                    Like    Reply   2w

                    Nestor Meza
                    Becca Meza Jose Maya Mari Luengas-Maya y'all down
                    Like    Reply   2w                                                09>
                    Bl 2 Replies

                    Maria Celestina Guardado
                    Beautiful                               m
                    Like    Reply   2w

                    Nichole Lamb
                    Kidless date day Melissa Knox
                    Like    Reply   2w

                    Bl 2 Replies

                    Michelle Markman
                    Ooo fun!              O        0
                    Like    Reply   1w

                    Steve lord      |




                      OKTOBERFES
                         “NOW IN

                    Like    Reply   20h

                    Arnold Bodner
                    | plan on coming there to visit one day
                    Like    Reply   2w

                    Magie Tello               om
       @




                    Luis Angel Tello
                    Like    Reply   1w
       €C




                    Stella Morris-Rainwater            wm
                    Court    ©
                    Like    Reply   1w

                    Amy Frey Love
        ©




                    Matt Franklin, we should go!
                    Like    Reply   2h
https://www.facebook.com/LeavenworthWA/                                                                                    38/48


      Declaration of Troy Campbell - 30
        Case 2:22-cv-00174-TOR                       ECF No. 12               filed 08/26/22          PageID.498 Page 31 of 32

8/14/22, 10:22 AM                                                         Visit Leavenworth WA, | Facebook



    0                                                                                                        +    ©    8
                    Like   Reply      1w

           RX       Sandii Casiano             wm
                    Karina Munoz Oo
                    Like   Reply      1w
                    Bl 2 Replies

                    Edna Leon                       mW
                    Sam Zarate Torres
                    Like   Reply      2w
                    IB 1 Reply

          &         Troy Booth                       m
                    Laura Christy Booth
                    Like   Reply      1w

                    Brittany Bechtel                                      w
                    Kristen Gertsch I'm so confused lol
                    Like   Reply      2w

          3         Clover Daley
           at       Elizabeth Rose         m

                    Like   Reply      2w

                    BB 1 Reply

                    Cherie Anne Delaney Tyson
        &




                    Tyson Allen wanna go here sometime!!!                       om
                    Like   Reply      2w
                    Marci LaGrou                                  m
        &




                    Jordan Moore let's go this year??
                    Like   Reply      1w

                    Kevin Cha e                          mw
        &




                    Skyler Warnke © °°
                    Like   Reply      2w
        6&6




                    Alex Hostettler                           m
                    Jay Rosenbalm oompah!!!
                    Like   Reply      2w

                    Mandi Amanda Kelley                               m
        ©




                    Shalen Williams take me please!!!
                    Like   Reply      1w

                    Jacki Fa ching Murray                         m
        2




                    So, it's not in Wenatchee...good!
                    Like   Reply      2w   Edited

https://www.facebook.com/LeavenworthWA/                                                                                          39/48


      Declaration of Troy Campbell - 31
        Case 2:22-cv-00174-TOR                      ECF No. 12     filed 08/26/22            PageID.499 Page 32 of 32

8/14/22, 10:22 AM                                                Visit Leavenworth WA, | Facebook



    0                                                                                               KU
                                                                                                              &
                    Mirjana Sestak
                    My dreaam it’s Visit Leavenworth WA, My only wish! Where can | fint prizes of
                    apartments and driving from first Aero station( Seatlle)?? Please help
                    Like   Reply       2w

                    Karla Mont     errat Rubio Garcia   mm
        0

                    Luis Torres Jr.
                    Like   Reply       2w

                    Nicole Rose             w
        &



                    Logan Rose
                    Like   Reply       2w

                    Carie Starke                m
        &




                    Brad Betcher
                    Like   Reply       2w

                    Erin L. Otto                             m
        2




                    Daniel Otto we should go to this
                    Like   Reply       2w

                    Bl 2 Replies

                    Carol Grig by
        ©




                    Darn, Sandra Lucia, we are just going to barely miss the Oktoberfest!
                    Like   Reply       2w

                    Joey Traw
        ®




                    Hell yeah          =
                    Like   Reply       2w

                    Keishawna Smith
        8




                    Katie Guse =
                    Like   Reply       2w

                    Tere a Newman                                                   m
        9




                    | will beg, borrow and steal to be there this year!!!
                    Like   Reply       2w

                    mo     pa Author
                           Visit Leavenworth WA,
                           Teresa Newman we hope you can join us! ¢

                    Visit Leavenworth WA,
            0        uy28at800PM Q@

          Learn more about shopping in Leavenworth at leavenworth.org/shopping




           ... See more
https://www.facebook.com/LeavenworthWA/                                                                                 40/48


      Declaration of Troy Campbell - 32
